         Case 24-13538-amc
 Fill in this information to identify the case:
                                                   Doc        Filed 12/13/24 Entered 12/13/24 10:51:00                     Desc Main
                                                              Document      Page 1 of 5
B 10 (Supplement 2) (12/11)               (post publication draft)
 Debtor 1              Russell Kauffman

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the: E A S T E R N District of PENNSYLVANIA

 Case number           24-13538




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                 12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

 Name of creditor: Deutsche Bank National Trust Company, as                                   Court claim no. (if known): 1-1
 Indenture trustee for New Century Home Equity Loan Trust 2005-2


 Last 4 digits of any number you
 use to identify the debtor’s account: 8807
 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
 ☒         No

 ☐         Yes. Date of the last notice: ___ /____/____


 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case . If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.
      Description                                                            Dates incurred                                      Amount

  1. Late Charges                                                                                                         (1)    $
  2. Non-sufficient funds (NSF) fees                                                                                       (2)   $
  3. Attorney fees                                                                10/17/24                                 (3)   $ 450.00
  4. Filing fees and court costs                                                                                           (4)   $
  5. Bankruptcy/Proof of claim fees                                                                                        (5)   $
  6. Appraisal/Broker’s price opinion fees                                                                                 (6)   $
  7. Property inspection fees                                                                                              (7)   $
  8. Tax advances (non-escrow)                                                                                             (8)   $
  9. Insurance advances (non-escrow)                                                                                       (9)   $
 10. Property preservation expenses. Specify:                                                                             (10)   $
 11. Other. Specify:          Objection to Confirmation                            10/25/24                               (11)   $ 550.00
 12. Other. Specify:                                                                                                      (12)   $
 13. Other. Specify:                                                                                                      (13)   $
 14. Other. Specify:                                                                                                      (14)   $


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.



Official Form 410S2                                  Notice of Postpetition Mortgage Fees, Expenses, and Charges                          page 1
          Case 24-13538-amc               Doc       Filed 12/13/24 Entered 12/13/24 10:51:00                       Desc Main
                                                    Document      Page 2 of 5

                                                                                Case number (if known) 24-13538
Debtor 1      Russell Kauffman




 Part 2      Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

   ☐ I am the creditor.
   ☒ I am the creditor’s authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.

                  Signature   /s/Tawakoni Hill
                                                                                Date    12/13/2024



 Print:     Tawakoni Hill                                                       Title   Authorized Agent



 Company          Liepold Harrison & Associates, PLLC




  Address          1425 Greenway Drive, Suite 250
                  Irving, TX 75038

  Contact phone    800-349-1254                                                  Email: pcninquiries@lha-law.com




Official Form 410S2                        Notice of Postpetition Mortgage Fees, Expenses, and Charges                     page 2
Case 24-13538-amc           Doc    Filed 12/13/24 Entered 12/13/24 10:51:00         Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA


 In Re:                                                        Case No. 24-13538

 Russell Kauffman

                                                                Chapter 13
                  Debtor(s)

                                  CERTIFICATE OF SERVICE

I hereby certify that on 12/13/2024, a true and correct copy of the foregoing Notice of
Postpetition Mortgage Fees, Expenses, and Charges was served upon all interested parties
pursuant to the Court’s CM/ECF system and/or by First Class U.S. Mail.

                                                               By : Tawakoni HIll

   Authorized Agent for Deutsche Bank National Trust Company, as Indenture trustee for New Century
                                                                     Home Equity Loan Trust 2005-2
                                                                   Liepold, Harrison, and Associates
                                                                    1425 Greenway Drive, Suite 250
                                                                                   Irving, TX 75038

Debtor(s) through the Debtor(s)’ Attorney of Record
Russell Kauffman
12120 Sweet Briar Rd
Philadelphia PA 19154




Debtor(s)’ Counsel
 Michael A. Cibik
1500 Walnut Street Suite 900
Philadelphia, PA 19102

Trustee
Kenneth E. West
190 N. Independence Mall
West Suite 701
Philadelphia, PA 19107

U.S. Trustee
Office of United States Trustee
900 Market Street Suite 320
Philadelphia, PA 19107
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